Case 6:18-cv-01069-RBD-LRH Document 90 Filed 10/31/19 Page 1 of 2 PageID 3203



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA


 JOHN DOE,                                              Case No. 6:18-cv-01069-RBD-KRS

 Plaintiff,                                             Judge: Dalton, Jr.

 v.                                                      UNOPPOSED MOTION FOR LEAVE
                                                         TO CONDUCT PRE-TRIAL
 ROLLINS COLLEGE                                         MEETING BY VIDEO
                                                         CONFERENCE OR
 Defendants                                              TELECONFERENCE



        Plaintiff John Doe, respectfully submits this Motion for Leave to Conduct the Pre-Trial

Meeting by Video Conference or Teleconference. Currently, the parties are required to meet in person

by December 30, 2019. See Case Management and Scheduling Order (Doc#29).

        As ground for this Motion, Plaintiff states that the parties have worked cooperatively on

discovery and other issues. In particular, the parties have already started discussion of many of the

issues outlined in the Court’s Case Management and Scheduling Order. Counsel for Plaintiff, after

discussing this issue with Counsel for Defendant, believes that the parties will be able to continue to

discuss the matters in a good faith effort to either avoid trial or to coordinate a fair, thoughtful, and

efficient presentation of the matter at trial through a video or teleconference.

        Plaintiff’s Counsel also seeks to avoid travel expenses and the inconvenience and disruption

of travel during the holiday season.

        Defendant does not oppose this Motion.




                                                   1
Case 6:18-cv-01069-RBD-LRH Document 90 Filed 10/31/19 Page 2 of 2 PageID 3204



        Wherefore, Plaintiff respectfully requests leave to conduct that the Pre-Trial Meeting by video

conference, teleconference, or other electronic means.

                                                         Respectfully submitted,

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                                      CERTIFICATE OF SERVICE
         This certifies that the foregoing was filed electronically on October 31, 2019. Notice of this
filing will be sent to all parties by operation of the Court’s electronic filing system.


                                                         ____/s/ Joshua Engel ______
                                                         Joshua Adam Engel (Ohio No. 0075769)
                                                         (pro hac vice)


                                CERTIFICATION OF COUNSEL
        Pursuant to Local Rule 3.01(g) and Fed R. Civ. P. 37(a)(1), the undersigned counsel certifies
that before filing this Motion counsel conferred with counsel for the opposing party in a good faith
by email in an effort to resolve the issues raised by the motion and obtain the relief sought without
court action. Counsel for the opposing party agrees on the resolution of the motion.
                                                         ____/s/ Joshua Engel ______
                                                         Joshua Adam Engel (Ohio No. 0075769)
                                                         (pro hac vice)

                                                   2
